
Per Curiam.
We must again call the attention of the bar to the necessity of abstracting cases in accordance with the rules of court. In this case the abstract is not a decently full index. From it it is impossible to get an understanding as to the character and nature of the case. To inform the court at what folios of the record something can be found, although it may be of some,assistance, does not comply with the rules.
In this case there is another and more serious difficulty. There is no bill of exceptions.
The only certificate of what purports to be a bill of exceptions is that of some person who styles himself “ Official Stenographer.” It is needless to say that such a certificate is worthless and cannot be substituted for that of the judge.
The only question involved was as to the ownership of personal property, and that was entirely dependent upon the evidence.
Without a bill of exceptions, there is no basis for a review of the judgment.
The writ of error will be dismissed.

Dismissed.

